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3                             UNITED STATES DISTRICT COURT
4                                    DISTRICT OF NEVADA
5                                              ***
6     MICHAEL DONOVAN,                               Case No. 3:20-cv-00680-MMD-WGC
7                                     Petitioner,
            v.                                                     ORDER
8

9     PERRY RUSSELL, et al.,
10                                Respondents.
11

12         Counsel for Petitioner Michael Donovan has notified the Court of Mr. Donovan’s
13   death. (ECF No. 4.) Petitioner’s death extinguishes his claims for relief, so this habeas
14   action is dismissed as moot. The Clerk of Court is directed to enter judgment accordingly
15   and close this case.
16         DATED THIS 11th Day of January 2021.
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                                              MIRANDA M. DU
19                                            CHIEF UNITED STATES DISTRICT JUDGE
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